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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                GREENBELT DIVISION


KILMAR ARMANDO ABREGO GARCIA,
et al.,

                          Plaintiffs,
             v.
                                                   Case No. 8:25-cv-00951 (PX)
KRISTI NOEM, Secretary of the Department of
Homeland Security, et al.,

                          Defendants.



     DEFENDANTS’ MOTION FOR AN EXTENSION OF TIME TO ANSWER OR
                 RESPOND TO PLAINTIFFS’ COMPLAINT

       Defendants respectfully request that the Court extend the time for them to answer or

otherwise respond to Plaintiffs’ complaint by 30 days. Plaintiffs filed their complaint on March

24, 2025, and served the United States Attorney’s Office for the District of Maryland on March

27, 2025. Accordingly, Defendants must answer or otherwise respond to Plaintiffs’ complaint by

May 27, 2025. See Fed. R. Civ. P. 12(a)(2).

       Federal Rule of Civil Procedure 6(b)(1) provides that “[w]hen an act may or must be done

within a specified time, the court may, for good cause, extend the time.” On April 15, 2025, this

Court granted Plaintiffs’ motion for expedited discovery. Order, ECF No. 79. Since then,

Defendants have responded to requests for the production of documents, answered interrogatories,

and prepared four individuals for their depositions. Defendants have expended significant

resources coordinating across multiple agencies, reviewing and producing documents, preparing

witnesses, and assessing complex privilege issues within the expedited timeframe. Accordingly,

Defendants request that this Court grant them until June 26, 2025, to respond to Plaintiffs’

complaint.
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       Defendants conferred with Plaintiffs via email on May 27, 2025, and Plaintiffs oppose

Defendants’ motion.


Dated: May 27, 2025                           Respectfully submitted,

                                              YAAKOV M. ROTH
                                              Acting Assistant Attorney General

                                              BRIDGET K. O’HICKEY
                                              Counsel to the Assistant Attorney General
                                              Civil Division

                                              /s/ Drew C. Ensign______________
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                                              Attorneys for Defendants




                                CERTIFICATE OF SERVICE

       I certify that on May 27, 2025, I caused to be filed the foregoing document via CM/ECF,

which caused a copy to be served on all parties.


                                             /s/ Drew C. Ensign______________
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